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                    UNITED STATES DISTRICT COURT                                  0/81,{!Jtt r., c1e,.
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             FOR THE EASTERN DISTRICT OF NORTH CAROLINA                                    Nc
                          WESTERN DIVISION         \
                               No.S: 20::(12-305- \ \V\ lW J

UNITED STATES OF AMERICA                       )
                                               )
             v.                                )             INDICTMENT
                                               )
CHARLES ANTHONY PITTMAN                        )

      The Grand Jury charges that:


       On or about May 30, 2020, in the Eastern District of North Carolina, the

defendant, CHARLES ANTHONY PITTMAN, aiding and abetting others both known

and unknown to the Grand Jury, maliciously damaged and destroyed by means offue

and an explosive, a building, the Market House, located at Market Square,

Fayetteville; North Carolina, in whole and in part owned and possessed by the City

of Fayetteville, an organization receiving Federal financial assistance, and as a result

of such conduct, the defendant created a substantial risk of injury to any person, in

violation of Title 18, United States Code, Sections 844(£)(1), 844(£)(2), and 2.




                     (Remainder of page intentionally left blank.)




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                                  FORFEITURE NOTICE

      The defendant is hereby given notice that all of the defendant's interest in all

property specified herein is subject to forfeiture.

       Upon conviction of the offense(s) set forth in the foregoing Indictment, the

defendant shall forfeit to the United States, pursuant to Title 18, United States Code,

Section 82(a)(2)(B), any property constituting, or derived from, proceeds obtained,

directly or indirectly, as a result of such violation(s), and pursuant to Title 18, United

States Code, Section 844(c) and Title 28, United States Code, Section 2461(c),

any explosive materials involved or used or intended to be used in the violation(s).

      If any of.the above-described forfeitable property, as a result of any act or

omission of the defendant -

      (1)    cannot be located upon the exercise of due diligence;

      (2)    has been transferred or sold to, or deposited with, a third person;

      (3)    has been placed beyond the jurisdiction of the court·'
                   .


      (4)    has been substantially diminished in value; ·or

      (5)    has been commingled with other property which cannot be subdivided

            without difficulty,




                    (Remainder of page intentionally left blank.)




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it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), to seek forfeiture of any other property of said defendant up to the value of

the above forfeitable property.

                                               A TR.TIE BTT.T,·   I




                                                            DATE

ROBERT J. HIGDON, JR.
United States Attorney



BY: ~-D. Koesters
Assistant United States Attorney




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